Case 5:09-cr-00279-SMH-MLH          Document 586        Filed 07/30/13      Page 1 of 2 PageID #:
                                          2873

                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                               CRIMINAL ACTION NO. 09-00279-06

 VERSUS                                                 JUDGE S. MAURICE HICKS, JR.

 DWIGHT D. JACKSON                                      MAGISTRATE JUDGE HORNSBY

                                  MEMORANDUM ORDER

       On May 15, 2013, the United States Court of Appeals for the Fifth Circuit vacated

 and remanded this matter for a reevaluation of Defendant Dwight D. Jackson’s (“Jackson”)

 request for relief under 18 U.S.C. § 3582(c)(2). See Record Document 573. The Fifth

 Circuit held that this court abused its discretion by failing to conduct contemporaneous

 review of the § 3553(a) factors. See id.

       As stated in its previous order, Jackson received the benefit of a Section 3553(e)

 motion at the time of his original sentencing. See Record Documents 332 & 360. Jackson

 had pled to a drug conspiracy and was facing a statutory sentence of 10 years (120

 months) to life. His guideline range was 135 to 168 months. In its Section 3553(e) motion,

 the Government stated:

       The intent of this filing is to allow the Court, if this motion is granted, to depart
       downward from that guideline range and below the 120 months mandatory
       minimum. The Government recommends at least a 2 year or 24 months
       reduction from the bottom of his guideline range of 135 months, to perhaps
       a sentence of 111 months.

 Record Document 332 at 2. After considering the Section 3553(e) motion and the Section

 3553(a) factors, the Court granted the Government’s motion and imposed a sentence of

 110 months. See Record Documents 360 & 361.

       Under the Fair Sentencing Act of 2010, Jackson’s recalculated guideline range of

 imprisonment is 108 months to 135 months. On remand, this Court makes clear that it has

 now contemporaneously considered Jackson’s request for relief under Section 3582(c)(2),
Case 5:09-cr-00279-SMH-MLH        Document 586        Filed 07/30/13   Page 2 of 2 PageID #:
                                        2874

 including the recalculated guideline range of imprisonment; the arguments set forth in the

 Government’s Section 3553(e) motion; the Section 3553(a) factors; and the Pre-Sentence

 Report. The Court will not grant further relief under Section 3582(c)(2) in this matter, as

 the previously imposed sentence remains appropriate in light of the record as a whole. In

 fact, nothing presented in connection with Jackson’s request for relief under Section

 3582(c)(2) has changed the result of this Court’s prior evaluation of the Section 3553(a)

 factors. Accordingly, the Court will not reduce Jackson’s sentence of 110 months further.

        THUS DONE AND SIGNED, in Shreveport, Louisiana, this 30th day of July, 2013.




                                        Page 2 of 2
